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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

MARVIN WORRELL,

              Plaintiff,
         v.

RESURGENT CAPITAL SERVICES,
L.P.,

          Defendant.
____________________________________/

                            NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT on this date, Defendant Resurgent Capital

Services, L.P., by and through its undersigned counsel, hereby removes the above-

captioned matter to the United States District Court for the Middle District of

Florida, Tampa Division, from the County Court of the Thirteenth Judicial Circuit

in and for Hillsborough County, Florida and in support thereof avers as follows:

      1.      Defendant Resurgent Capital Services, L.P. is a defendant in a civil

action originally filed on or about June 16, 2021, in the County Court of the

Thirteenth Judicial Circuit, in and for Hillsborough County, Florida, titled Marvin

Worrell v. Resurgent Capital Services, L.P. and docketed to Case No. 2021-CC-

67858.

      2.      This removal is timely under 28 U.S.C. § 1446(b) as Defendant

received service of process on July 2, 2021.
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      3.     Pursuant to 28 U.S.C. § 1446, attached hereto are copies of all process,

pleadings and orders received by Defendant in the state court action.

      5.     The United States District Court for the Middle District of Florida,

Tampa Division, has original jurisdiction over this action pursuant to 28 U.S.C. §

1331, in that Plaintiff has filed claims against Defendant alleging violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      6.     On this date, Defendant provided notice of this Removal to counsel for

Plaintiff and to the County Court of the Thirteenth Judicial Circuit in and for

Hillsborough County, Florida.

      WHEREFORE, Defendant respectfully removes this case to the United States

District Court for the Middle District of Florida.

                                 MESSER STRICKLER, LTD.


                          By:    /s/ John M. Marees, II
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Dated: July 22, 2021



                        CERTIFICATE OF SERVICE

      I certify that on July 22, 2021, a true copy of the foregoing document was

served as follows:

Via U.S. Mail Postage Prepaid:
Jibrael S. Hindi, Esq.
Thomas J. Patti, Esq.
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Dated: July 22, 2021
